Case 19-10989 Doc 1 Filed 05/06/19 Page 1 of 13

Fil| in this lnformation to ldentliy your caee:

 

Un|fed Slates Bankruptcy Court for lhe:
D|STR!CT OF DELAWARE

Case number {rrknown; Chapter 11

I:\ Check ifthis an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-lnclividuals Filing for Bankruptcy mo

lf more space ls needed, attach a separate sheet to this form. On the top ot any additional pages, write the debtor's name and case number {if known).
For mere lnformatlon, a separate documenl, Ins¢ructlens for Bankruptcy Fcrms for Non-lndivlduals, ls available.

1. Debtor's name Southeastern Nletal Products LLC

 

2. A|| other names debtor
used in the last B years

include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer identification 204349‘192

 

 

 

Number (E|N)
4. Debtor's address Pr|nclpal place of business Ma|||ng address, |f different from principal place of
buslnese
1420 Metals Drlve
Charlotte, NC 28206
Number, Street. City. State & ZlP Code P.O. Box. Number. Street. City, State & Z|P Code
Mecklenburg Locat|on of principal assets, lf different from principal
County place of business

 

Number. Slreet, City, Stata & ZlP Code

5. Debtor’swebslte(URi_) www.eempllc.com

 

6- T¥P° °* d°bf°' l corporation (including Limlted Liablmy company (LLc) and leuod Llabimy Parmorship (LLP»

|:| Partnership (exc|uding LLP)
ij Other.Speclfy'.

 

 

Offlcla| Form 201 Voluntary Petltlon for lion-individuals Filing t'or Bankruptcy page 1

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Debtor Southeastern |ii|etai Prociucts LLC case oomber(rrrnown)

NSF|'\Q

7. Descr|be debtor's business

 

A. Check one:

ij Hea|th Care Buslness (as defined in 11 U.S.C. § 101{27A))
|:l S|ngle Asset Reai Estate (as defined in 11 U.S.C. § 101(515))
['_'l Raiiroad (as detined in 11 U.S.C. § 101(44))

|:l Stockbroker (as defined in 11 U.S.C. § 101(53A))

l:l Commod|ty Broker (as delined in 11 U.S.C. § 101(6))

l:| C|earing Bani< {as detined |n 11 U.S.C. § 781(3))

l None of the above

B. Check art that apply
Cl Tax-exempt entity tas described in 26 U.S.C. §501)

|:l investment company. including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §BOa-$)
|:l investment advisor (as defined in 15 U.S.C. §BOb-2(a)t1'i))

C. NA|CS (North Arnerican industry Classiticaiion System) 4-d|git code that best describes debtor.
See httg:lenm/.uscourts.govr'four-dlglt»national-association-naics-codes.

 

3329
B. Under which chapter of the Checir one:
Bankruptcy Code is the
debtor filing? n Chap‘e' 7
l:l ChapterQ

l chapter 11. check air that apply

[] Debtor's aggregate noncontingeni liquidated debts (exctuding debts owed to insiders or affiliates)
are less than $2,725,625 (amount subject to adjustment on 41011'22 and every 3 years after ihat).

EI The debtor le a small business debtor as defined in 11 U.S.C. § 101(51D). ifthe debtor is a small
business debtor. attach the most recent beiance sheei, statement of operations. cash-flow
staiement, and federal income tax return or if ali of these documents do not exist. follow the
procedure in 11 U.S.C. § 1116(1)(8).

A plan is being liled with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors. in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to tile periodic reports (for exampie. 10i< and 100) with the Securities and
Exchange Commission according lo § 13 or 15(d) of the Secur'ities Exchange Aciof1934. File the
attachment to Voiuntary Pettttan for Non-indr'viduats Filing for Eankruptcy under Chapter 11
(Otticial Form 201A) with this form.

El The debtor is a shell company as defined |n the Securities Exchange Act of 1934 Rule 12b-2.

Ei|:l

l:l Chapter 12

 

9. Were prior bankruptcy
cases filed by or against
the debtor within the last B
years'r"

if more than 2 cases, attach a
separate iist.

- No.
L'.l Yes.

District When Case number

District When Case number

 

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

Ltst all cases. if more than 1l
attach a separate list

- No
i:l Yes.

Debtor Reiationship
D|str|ct When Case number. if known

 

Oftlcia| Form 201

Vo|untary Petitton for Non-tnciividuais Filing for Bankruptcy page 2

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Debtor Southeastern Metai Products LLC

Name

11. Why is the case filed in Check all that eppiy.'
this district?

Case number (irknown)

 

l Debtor has had its domici|e, principal place ofbusiness. or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

E! A bankruptcy case concerning debtor's afi'liiate. general panner. or partnership ls pending in this district

 

12. Does the debtor own or - No
have possession of any

real property or personal m Yes_ Answer below for each property that needs immediate attention. Attach additional sheets if needed.

property that needs
immediate attention?

Why does the property need immediate attention? (Check ali that appiy.)

E lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health cr safety.

What is the hazard?

 

|:| !t needs to be physically secured or protected from the weather.

|:l lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for exampie,
tivestocli, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

|:l Other

 

Where is the property?

 

Number. Street. Cityl State Sr Z|P Code

ls the property lnsured?
i:l No
|] Yes_ insurance agency

 

Contact name

 

Ph°i‘l&

 

 

_ Statisttcai and administrative information

13. Debtor's estimation of
available funds

Check one.'

l Funds will be available for distribution to unsecured creditors

i:\ Atter any administrative expenses are paid. no funds will be available to unsecured creditors

 

14. Estimatec| number of |:| 1_49 l:l 1,000.5,000
creditors ij sees |I| 5001-10.000
- 100_199 Et 10,001-25,000
El 200-999

ill 25.001-50.000
i`J 50.001-100.000
I:l Niore ihan100.000

 

15. Estimated Assets |:| $0 - $50,000

[:i $50,001 - $'100,000
n 5100.001 - $500,000
l:l $500.001 - $1 million

l s1 .000.001 - slo million

|Zi sio,ooo,ooi - sso million
iii $50.000.001 - $100 million
Ei slcc,ooo,oci - esco million

El ssoo,ooo,coi - $1 billion

l:l $1.000,000.001 - 510 billion
i:i $10.000,000.001 - $50 billion
E| More than $50 billion

 

18. Estimatsd liabilities |:| go - 550_000

|Il sso.oci - 5100.000
t‘_“i sioo.ooi - $500.000
l:l $500,001 - $1 million

l $1,000.001 - $10 mi|tion

i:i $10,000,001 - $50 million
i:i $50,000,001 - $`iDO million
m $100.000.00'1 - $500 million

l:l $500,000.001 - s1 billion

iIi si.ooo.ooc,om - 510 billion
iii $10.000.000.001 ~ $50 billion
ij N|ore than $50 billion

 

thc|ai Form 201 Voluntary Petlt|on for Non-indivlduais Filing for Bankruptcy

page 3

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Debtor Southeastern Nletal Products LLC case number tirlrnown)

 

Name

- Ftequest for Fte|ief, Deciarationl and Signatures

WARNiNG -- Bankruptcy fraud is a serious crime. Niaking a false statement in connection with a bankruptcy case can result in lines up to $500.000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152. 1341. 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
i have been authorized to file this petition on behalf of the debtor.
l have examined the information |n this petition and have a reasonable belief that the information ls trued and correct.

i declare under penalty of perjury that the foregoing is true and correct.

Executed on 6-5'_/_/@6§/'?'-'7/ ?

 

 

NiNii DD l Y‘{YY
X //j%gmf_ Dav|d Denton
Signature of authorized representative of debtor Printed name

T|t|E President

 

 

 

18.Slgnatureofattorney X /\ /\ /\ \Y Date {_/O /c;'€ ici
]Signatgfe of atto?ne{for debtor " y N|Nif/DDIYYYY l

liliichael Busenkei|
Printed name

Geilert Scat| Busenkel| & Brown, LLC
Firm name

1201 N. Orange Street

Suite 300

Wiimington, DE 19801

Number. Sireei. City. State & Z|P Code

Contact phone 302-425-5812 Emaii address mbt.lsenkel|@gsbb[aw.com

 

3933 DE
Bar number and State

Officia| Form 201 Vo|untary Petition for alan-individuals Filing for Banllruptcy page 4

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Fiil in this information to identify the case:

Debtor namB Southeastern Nietai Products LLC

United States Bankruptcy Couri for the: DiSTRiCT OF DELAWARE

Case number (it known)
|:| Check ifthis is an
amended iiiing

 

 

Officiai Form 202
Dec|aration Under Penaity of Perjury for Non-individuai Debtors ms

An individual who is authorized to act on behalf of a non~individuai debtor, such as a corporation or partnerahlp. must sign and submit this
form for the schedules of assets and iiabi|ities, any other document that requires a declaration that is not included in the document, and any
amendments of those doouments. This form must state the lndividual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 0011.

WARN|NG -- Bankru ptcy fraud is a serious orime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to 5500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3671.

- Daciaration and signature

i arn the president, another officer. or an authorized agent of the corporation; a member or an authorized agent of the partnershlp; or another
individual serving as a representative of the debtor in this case.

i have examined the iniormation in the documents checked below and | have a reasonabie belief that the information is true and correct:

Scheduie A)B.' Assets-Reai and Personai Properfy (Oi"nciel Form 206A!E)

Schedu.ie D: Creo‘ifors Who Have Ciar'ms Secured by Properiy (Offtciai Form 206D)

Scheduie E/F.‘ Creditors Who Have Unsecured Ciaims (Oficial Form 206EIF)

Scheduie G: Executory Conirecrs and Unexpired i.eases (Offrciai Form 2066)

Schedui'e H: Codebiors (Ofticlal Form 206H)

Summary of Aseets and Liebr'i.iiie$ for Non-fndividuais (Offlciai Form 2065um)

Amended Scheduie

Chapter 11 or Chapter 9 Ceses: Lr'sf of Creciifore Who Have the 20 Largesi Unsecureo' Cier'ms and Are Not insiders (Ofiiciai Form 204)
Other document that requires a deciaration

l declare under penalty of perjury that the foregoing is tWi.
Execuied on C:JJIAG/,{/O/ 9 X W

Signature of individual signing on behalf of debtor

 

l:|i:ii.__|i]i:||ji]|:|ij

 

David Denton
Printed name

President
Fosition or relationship to debtor

Oi‘iiciai Form 202 Declaration Under Penaity of Per]ury for Non-Individua| Debtors

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F`iii in this information to identity the case:
Debtor name Southeaetern iiiietai Products LLC
United Stales Bani<ruptcy Court for the: D|STR|CT OF DELAWARE

 

   

 

Case number (if known)‘.

 

 

Ofiiciai Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Ciaims and

Are Not insiders

i:i Check if this is an

amended filing

12115

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aiso, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor

among the holders of the 20 largest unsecured ciaims.

 

Neme of creditor end Name. telephone number Nature of claim indicate if claim Amount ofc|a|m

complete mailing add rees, and emaii address of (for examp|e, trade is contingentl if the claim is fully unsecured. fill in only unsecured claim amount if
including zip code creditor contact debts. bankioans. unliquidated or claim is partially secured. fill in total claim amount and deduction tor
professional services. disputed value of collateral or setoff to calculate unsecured ctalm.

 

oontracts)

and government Total claiml if
partiai_|y secured

Daductlon for value
of collateral or setoff

Unsecured claim

 

5-F MECHANiCAi_
GROUP, lNC

PO BOX 81305
Austin, TX 78708

$225,517.03

 

AIRGAS NAT|ONAL
WELDERS

5315 OLD DOWD
ROAD

Charlotte, NC
20266-0804

$64,863.56

 

ATHENA
MANUFACTUR|NG,
LP

15900 BRATTON
LANE

Austin, TX 78728

$96,179.66

 

BOVD
CORPORAT|ON
600 SOUTH
MCCLURE RD
Modesto. CA 95357

$60,528.09

 

D.B. ROBERTS
COMPANY

2300
WEST|NGHOUSE
BLVD

Raieigh1 NC 27604

$78,749.68

 

ENHANCED
POWDER COAT|NG
AZZ, iNC

3333 N. i-35
BU|LD|NG A
Gainesvllle, TX
16240

 

 

 

 

 

 

 

$59,164.60

 

 

Oinciei form 204 Chapter 11 or Chapter 0 Cases: List of Creditore Who Have the 20 Largest Unsecured claims

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page 1

Best Case Bankruplr.y

Debtor
Name

CaS€ 19-10989 DOC l

Southeastern Metal Prod ucts LLC

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Case number (i'fknown)

 

 

Narne of creditor and

including zip code

complete mailing addrees,

Name, telephone number
and small address of
creditor contact

Natu re of claim
(for examp|e, trade
debis, bank loansl

professional eervices.

Indicate if claim
is ccntingerit,
unliquidatedl or
disputed

Amo unt of claim

lf the claim is fully unsecurcd, fill in only unsecured claim amount ll
claim is partially secured. till in total claim amount and deduction for
value of collateral or setoff to calculate unsecured ciaim.

 

Totai ciaim, if
partially secured

Deduction for value

of collateral or setoff

Unsecured claim

 

iL2000
iNTEGRATED
LOG|STlCS
2000,LLC

PO BOX 8372
Virginla Eeach, VA
23450-8372

$120,202.38

 

JOSEPH T.
RYERSON & SON
iNC

2621 W. 15TH
PLACE

Chicago, lL 60608

$240,758.31

 

iiiiETALS
USA-RANDLEMAN
4309 US HWY 311
Randieman. NC
27317-9737

$653,110.73

 

iii|IAiii|i VALLEY
STEEL

201 FOX DR|VE
Piqua, OH
45356-6000

$79,974.74

 

iiinDERN
ALUiiiiiNUiiii
CAST|NGS
COMPANY, iNC.
1400 NORTH 14TH
STREET

Terre Haute. lN
47807

$111,206.70

 

PHOEN|X fiilETALS
COMPANY

FO BOX 932589
Atianta, GA
31193-2589

$131,153.39

 

PlEDliiiONT
PLASTICS |NC
5010 WEST W.T.
HARR|S BLVD
Chariotte, NC 28269

$164,499.42

 

POLYitiiERSl-iAPES
LLC

3000 CROSSPOINT
CENTER LANE
Chariotte, NC 28269

$61,579.15

 

RACE CiTY STEEL
4052 N. HiGi-iWAY
16

Denver, NC 28037

 

 

 

 

 

 

$98,715.13

 

 

Ofncia| form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest unsecured claims

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page 2

Best Cese Baniuuptcy

 

Debtor
Name

CaS€ 19-10989 DOC l

Southeaatern lllletal Producta LLC

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Case number (ffknown)

 

 

Name of creditor and

including zip code

complete mailing addressl

Name. telephone number
and small address of
creditor contact

Nature of claim
(for exampie. trade
dabta. bank loans.

professional servicee.

indicate if claim
1a contingent,
unliquidated. or
disputed

Al'l`lo\|fli. 0¢' Clall‘l'l

lf the claim is fully unsecured, lift in only unsecured ciaim amount lf
claim le partially seeurad. nil in lolal claim amount and deduction for
value of collateral or setoff to calculate unsecured clalm.

 

Total ciaim, if
partially secured

Deductien for value

of collateral or setoff

Unsecured claim

 

RELEVANT
SOLU.T|ONS

9750 WEST SAM
HOUSTON
PARKWAY NORTH
Suite 190
HOuStOn, TX 77064

$145,542.78

 

ROLLED |'illETAL
PRODUCTS

P. O. BOX1734
Zachary, LA 70791

$269,001.73

 

SOUTHEASTERN
FREIGHT LINES
PO BOX 1691

Coil.lmbia, SC 29202

$79,759.45

 

STEEL
WAREHOUSE
600 RlVER
TERN||NAL ROAD
Chattanocga, TN
37406-1731

$99,147.69

 

SUPER|OR
PRODUCT|ON LLC
2301 FAlRWOOD
AVENUE
Columbus, OH
43207

 

 

 

 

 

 

$1,134,343.06

 

 

O¢‘iic|al form 204

Chapter 11 er Chapter 9 Cases: L.ist of Credllors Who Have the 20 Largest Unsecured claims

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page 3

Best Caee Bankrupicy

 

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United States Bankruptcy Court
l)istrict of Deinware

in re Southeastern Nletal Products LLC Case No.
Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Proceciurc 7007.1 and to enable the Judges to evaluate possible disqualification or
recusa|, the undersigned counsel for Southeastern Metal Products LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) lO% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to repolt under FRBP 7007.]:
JL Holdiftgs 2002 LLC

950 Third Ave. 22nd F|oor

New York, NY 10022

Juno lnvesments LLC

950 Third Ave. 22nd Floor

New York, NY 10022

SEMP Henry LLC

ClO Dawn Homes Management

20 Corporate Woods Blvd. Bth Fioor
Albany, NY12211

El None [Check r’fappli'cab!e]

§///7/1 el /\ /\ i\<%/

Mlchael BusenRell’

Signature of Attomey or Litigan/t

Coimsel for Southeastern Nletal Products LLC
Gel|ert Scali Busenkel| & Brown, LLC

1201 N. Orange Street

Suite 300

Wl|mington, DE 19801

302-425-5812 Fax:302-425-5814
mbusenkell@gsbblaw.com

 

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132030 (Form 2030) (12/15)
United States Bankruptcy Court

District of Delaware

in re Southeastern lllletal Products LLC Case No.

 

Debtor(s) Chapter 1 1

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEB'I`OR(S)

l. Pursuant to ll U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that l am the attorney for the above named dcbtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf ofthe dcbtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept

Prior to the filing of this statement l have received $ 32’000-00 retainer

Balancc Due

2. The source ofthe compensation paid to me was:

l Debtor l:l Other (specify):

3. The source of compensation to be paid to me is:

- Debtor l:l Othcr (spccif`y);

4. l l have not agreed to share the above-disclosed compensation with any other person unless they arc members and associates of my law firm.

l:l I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law tirm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attachedl

5. In return for the above-disclosed fcc, l have agreed to render legal service for all aspects ofthe bankruptcy case, including:

Ana!ysis of the dcbtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;

. Prcparation and filing of any petition, schedulcs, statement of affairs and plan which may be required;

Representation of the debtor at the meeting cf creditors and confirmation hearing, and any adjourned hearings thereof;

. [Other provisions as needed]

Negotiations with secured creditors tc reduce to market value; exemption planning; preparation and filing of
reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
522(1)(2)(A) for avoidance of liens on household goods.

cap o-p>

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
any other adversary proceeding.

 

CERTIFICATION

I certify that the foregoing is a complete statement of any agreemen or arrange ent for c tMe debtor(s) in

me for represe

      

 

 

this bankruptcy p 'occeding.
§/o/ l Oi /
patel / t woman eus@tell\@rsss§j/

Sig)rcriw'e ofArrorirey

Ge|lert Sca|i Busenke|l & Brown, LLC
1201 N. Orange Street

Suite 300

Wi|rningtonl DE19801

302-425-5812 Fax: 302-425-5814
mbusen kell@gsbb|aw.com

 

 

 

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RESOLUTIONS OF THE MEMBERS
OF

SOUTHEAS'I`ERN METAL PRODUCTS LLC

The undersigned comprising the Members of Southeastern Metal Products LLC (the
“Company”), a limited liability company organized under the laws of the State of Deiaware, hereby
' unanimously adopt and approve the following resolutions on this 6th day of May, 2019.

RESOLVED that, in the business judgment of the Members of the Company, due
to the circumstances affecting the Cornpany, it is desirable and in the best interests of the
Company, its creditors, Members and other interested parties that a petition should be filed
by the Company seeking relief under the provisions of Chapter l 1 of the Bankruptcy Code
(the “Chapter 11 Case”), and the filing of such petition is authorized hereby; and it is further

RESOLVED that David P. Denton, Presidcnt, a duly designated Ofiicer of the
Company (the “Authorized Ofticer”) in such capacity is hereby authorized, empowered
and directed on behalf of the Company to execute, deliver and verify a petition in the name
of the Cornpany under Chapter ll of the Banl<ruptcy Code and to cause the same to be
filed in the United States Bankruptcy Court for the District of Delaware (“Bankruptcy
Court”) in such form and at such time as the Authorized Ofticer executing said petition on
behalf of the Company shall determine appropriate, and the execution and delivery thereof
of such Authorized Officer shall be conclusive evidence of such ofticer’s determination
and these Members’ approval thereof; and it is further

RESOLVED that the Authorized 0fticer, be and hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company, to execute, deliver, verify,
and/or file, or cause to be filed and/or executed or veritied (or direct others to do so on their
behalf as provided herein) all documents necessary or appropriate in connection with the
filing of said bankruptcy petition, including, without limitation, all petitions, aftidavits,
schedules, motions, lists, applications, pleadings, and other papers, in such form as the
Authorized Ofticer shall determine appropriate, such execution, delivery, verification
and/or filing to be conclusive evidence of Authorized Ofticer’s determination and these
Members’ approval thereof and in that connection to employ and retain all assistance by
legal counsel, accountants and other professionals and to take any and all action which he
deems necessary or proper in connection with the Chapter ll Case, with a view to the
successful prosecution of such case; and it is further

RESOLVED that the law firm ofRayburn Cooper &Durham,'P.A., 227 West Trade
Street, Suite 1200, Charlotte, North Carolina 28202, is hereby employed as attorneys for
the Company in the Chapter ll Case and in related matters, on such terms and conditions
as the Authorized Officer of the Company shall approve and said iirm shall agree; and it is
further

{00325126 v 1 }

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RESOLVED that the law firm of Gellert Scali Busenkell & Brown, LLC, 1201 N.
Orange Street, Suite 300, Wilmington, Dela_ware, 19801, is also hereby employed as
attorneys for the Company in the Chapter 11 case and in related matters, on such terms and
conditions as the Authorized Officer of the Company shall approve and said finn shall
agree; and it is further

RESOLVED that the advisory firm of the Finley Group, 212 South Tryon Street,
Suite 1050, Charlotte, NC, 28202, is also hereby employed as professionals for the
Company in the Chapter 11 case and in related matters, on such terms and conditions as
the Authorized Officer of the Cornpany shall approve and said firm shall agree; and it is
further

RESOLVED that the Authorized Officer be, and hereby is, authorized on behalf of
and in the name of the Cornpany, as debtor and debtor-in-possession, to enter into and to
execute and deliver such agreements, instruments and any and all other documents and
amendments that the Authorized Officer determines necessary or appropriate to facilitate
the transactions contemplated by the foregoing resolutions; and it is further

RESOLVED that the Authorized Officer be, and hereby is, authorized, in the name
and on behalf of the Ccmpany to take or cause to be taken any and all such further action
and to enter into and to execute and deliver or cause to be executed or delivered all such
further agreements, documents, certificates and undertakings, and to incur all such fees and
expenses as in his judgment shall be necessary, appropriate or advisable to effectuate the
purpose and intent of any and all of the foregoing resolutions, as the Authorized Of`ficer
shall determine necessary, proper or desirable, such taking of action and/or execution
and/or delivery of such documents to be conclusive evidence of such Authorized Officer’s
determination and this Bcard’s approval thereof; and it is further

RESOLVED that all actions previously taken by an Authorized Officer in the name
and on behalf of the Company in furtherance of any or all cf the proceeding resolutions be,
and the same hereby are, ratified, confirmed and approved as acts of the Company, and it
is further

RESOLVED that the Members hereby authorize the Secretary or any Assistant
Secretary of the Company to make such corrective or minor modifications or additions to
the foregoing resolutions as shall be deemed necessary or appropriate, so long as the
resolutions as so modified or supplemented effect the intent and purposes o'f these
resolutions

[SIGNATURE PAGE TO FOLLOW]

{00325126 v 1}

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IN WITNESS WHEREOF, the undersigned has unanimously adopted these Resoluticns as
Members for the Company on this 6th day of May, 2019.

{ooazsizsvl}

_Junc Investments LLC, as Member

  

 

   
  

- Na 'e:James Haber
" `le:-Manager

JL Holdings 2002 LLC, as Mernber

  

 

l' e:JamesHaber 7 \
'l`itle: Manager \

SEMP Henry LLC, as ember

By:. l _ v /
Namé:'l</lark Rcsen V

Title: Manager

